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A 0 245B (Rev 12103) Sheet 1 - Judgment in a Criminal Case


                            UNITED S TA TES DISTRICT COURT
                                                 MIDDLE DISTRICT OF FLORIDA
                                                      TAMPA DIVISION



UNITED STATES OF AMERICA                                      JUDGNIENT IN A CRIMINAL CASE
                                                              CASE NUMBER: 8:M-cr-236-T-23MSS
                                                              USM NUMBER: 70966-018
VS.



KAREN CONTENT0
                                                              Defendant's Attorney: Roy J. Kalm, ret

THE DEFENDANT:

X pleaded guilty to count FOUR of the Iudictment.
-

TITLE & SECTION                     NATURE OF OFFENSE                                    OFFENSE ENDED              COUNT

18 U.S.C. $ 1344                    Bank Fraud                                           January 14, 2000           FOUR


        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is inlposed pursuant to the
Sentencing Reform Act of 1984.

 X Counts ONE, TWO, FIVE, and SIX are disnlissed in accordance with the plea agreement.
 -
IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by Uiis judgment are fully
paid.
If ordered to pay restitution, the defendant shall nolify the court and United States Attorney of any material change in economic
circumstances.


                                                                                Date of Imposition of Sentence: July 6, 2005




                                                                                    STEVEN D. MERRYDAY
                                                                                                                               .
                                                                                UNITED STATES DISTRICT JUDGE

                                                                                DATE: July     '6 . 2005
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A 0 245B (Rev 12/03) Sheet 2 - lmprisonnient
Del'endant:        KARENCONTENTO                                                                          Judgment - Page 2 of 6
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                The defendant is hereby committed to the custody of the United States Bureau of Prisons to bc
imprisoned for a total term of TIhIE SERVED as to count four of the Indictment.




- The court makes the following recommendations to the Bureau of Prisons:


-
X The dekndant is ordered to proceed to the office of tlic United States Marshal for processing and furtlicr instruc[ions.




          I have executed this judgment as follows:




          Defendant delivered on                                                to

ilt                                                                    , with a certified copy of this judgment.



                                                                                       United States Marshal


                                                                    Deputy Marshal
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A 0 245B (Rev. 12/03) Sheet 3 - Supervised Release
Defendant:         KAREN CONTENT0                                                                  Judgment - Page 3of 6
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                                                       SUPERVISED RELEASE

        Upon release from imprisonment, the defendant shall be on supervised release for a term of SIXTY (60) MONTHS as to
count four of the Indictment.

        The defendant shall report to the probation office in h e district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

         While on supervised release, the defendant shall not comnit another federal, state, or local crime, and shall not possess a
firearm, ammunition, or destructive device as defined in 18 U.S.C. Fj 921.

-
X        The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a
         controlled substance. Based on the probation officer's determination that additional drug urinalysis is necessary, the Court
         authorizes random drug testing not to exceed 104 tests per year.

X        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
         substance abuse.

X
-        The defendant shall cooperate in the collection of DNA as directed by the probation officer.
          If this judgment imposes a fine or a restitution it is a condition of supervised release that the defendant pay in accordance
 with the Schedule of Payments sheet of this judgment.

          The defendant shall con~plywith the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
 1)       thc dcfcndant shall not leave the judicial district without the pcnnission of the court or probation officer:

 2)       thc dcfendant shall report to the probation officer and shall submit a truthful and conlplete written report within the first fivc days
          of each month:

 3)        the defendant shall answer truthfully all inquiries by the probation officcr and follow the instructions of the probation officer;

 4)       the defendant shall support his or hcr dependents and meet other family rcsponsibilities;

 5)        the defendant shall work regularly at a lawful occupation, unlcss cxcused by the probation officcr for schooling,training, or other
           acceptable rcasons;

 6)       the defendant shall notify the probation officcr at lcast ten days prior to any change in residence or cmployrnent:

 7)       the defendant shall rcfrain from excessive use of alcohol and shall not purchase, possess, usc, distribute, or administer any
          controlled substance or any paraphcmalia rclatcd to any controlled substances, cxccpt as prescribed by a physician;

 8)        the dcfcndant shall not frequent places whcrc controlled substances are illegally sold, used, distributed, or administered;

 9)       thc dcfcndant shall not associate with any pcrsons engaged in criminal activity and shall not associate with any person convicted
          of a fclony, unless granted permission to do so by the probation officer;

 10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall pcmiit confiscation of
           any contraband obscrvcd in plain view of the probation officer:

 lI)       the defendant shall notify the probation officer within seventy-two hours of bcing arrested or questioned by a law enforccrncnt
           officer;

 12)      the defendant shall not cnter into any agreement to act as an informer or a special agent of a law cnforccmcnt agcncy without the
          pcnnission of the court;

 13)       as directed by the probation officer, the defendant shall notify third partics of risks that may be occasioned by the defendant's criminal
           record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm thc
           defcndant's compliance with such notification rcquircmcnt.
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A 0 2453 (Rev. 12/03) Sheet 3C - Supervised Release

Defendant:        KAREN CONTENT0                                                            Judglnent - Page 4 of 6
Case No.:         8:M-cr-236-T-23MSS
                                       SPECIAL CONDITIONS OF SUPERVISION

         The defendant sl~allalso comply with h e fbllowi~lgadditionid conditions of supervised release:



X        The defendant shall provide the probation officer access to any requested fin'ulcial information.
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A 0 245B (Rev 12/03) Sheet 5 - Criminal Monetary Penalties

Defendant:         KAREN CONTENT0                                                           Judgment - Page 5 of 6
Case No.:          8:04-cr-236-T-23MSS

                                         CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                           Assessn~ent                          -
                                                                Fine                        Total Restitution

         -
         Totals:           $100.00                              $ waived                    $


-        The determination of restitution is deferred until .           An Attrerided Jirdgrtzerlt in a Criminal Case (A0 245C) will
         be entered after such determination.
-        The defendant must make restitution (including co~n~nunity
                                                                 restitution) to the following payees in the amount listed
         below.
         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
         specified otherwise in the priority order or percentage pa Inent column below. However, pursuant to 18 U.S.C. 5
         3664(i), all non-federal victims must be paid before the dnited States.
                                                                                                             Priority Ordcr or
                                               *Total                      Amount of                         Percentage of
 Name of Pavce                               Amount of Loss             Restitution Ordered                  Payment




                           Totals:

 -       Restitution amount ordered pursuant to plea agreement $
 -       The defendant shall pay interest on any fine or restitution of more than $2,500, unlcss the restitution or fine is paid in full
         before the fifteenth day after the date of the judgment,     'ant to 18 U.S.C. 8 3612(t). All of the payment options on Sheet
                                                                ?
         6 may be subject to penalties for delinquency and dc aulr, pursuant to 18 U.S.C. 9: 3612(g).
 -       The court delernlined that the defendant does not have the ability to pay interest and it is ordered that:
        -        the inrerest requirement is waived for the - fine         - restitution.
        -        the interest requirement for the - fine            restitution is modified as follows:


* Findings for the total amount of losses are required under Cha ters 109A, 110, llOA, and 113A of Title 18 for the offenses
committed on or after September 13, 1994, but before April 23, 1896.
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A 0 245B (Rev 12/03) Sheet 6 - Schedule of Payments

Defendant:        KAREN CONTENT0                                                           Judgment - Page 6of 6
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                                                  SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

         -
         X Lump sum payment of $ 100.00 due immediately, balance due
                            -not later than                   , Or
                            -in accordance - C, - D, - E or - F below; or
         A
                  Payment to begin immediately (may be combined with -C, -D, or -F below); or
         -        Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $             over a
                  period of          (e.g., months or years), to commence              days (e.g., 30 or 60 days) after the
                  date of this judgment; or
         -        Payment in equal                (e.f, weekly, monthly, quarterly) installments of $             over a
                  period of             , (e.g., mont s or years) lo commence                  (e.g. 30 or 60 days) after
                  release from imprisonment to a term of supervision; or
         A
                  Payment during the term of supervised release will commence within                         (e.g., 30 or
                  60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                  the defendant's ability to pay at that time, or
         -        Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this jud ment imposes a period of
         5                              I:                           7
rnonetar penalties is due during im risonment. All crimina monetary penalties, except
Federal ureau of Prisons' Inmate inancial Responsibility Program, are made to the
                                                                                                                      made through the

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
X
-        The defendant shall forfeit the defendant's interest in the following property to the United States:
         all assets as set forth in the plea agreement dated March 28, 2005.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) community res~itution,(6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
